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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE THE CLASS
          CERTIFICATION TESTIMONY OF DR. STEVEN FEINSTEIN




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I.       INTRODUCTION

         Nearly three months after Dr. Steven P. Feinstein (“Feinstein”) submitted his rebuttal report in

support of class certification, and after Magistrate Judge Hightower had already issued a Report and

Recommendation (ECF 254) (“R&R”) to certify the Class, Defendants1 belatedly moved to exclude

certain of Feinstein’s expert opinions. See Defendants’ Motion to Exclude the Class Certification

Testimony of Dr. Feinstein (ECF 268) (“Motion” or “Mot.”). Given Defendants’ unjustifiable delay in

filing their Motion, and their blatant and repeated defiance of Magistrate Judge Hightower’s prior order

that “[t]he parties should not file any new evidence” (ECF 219 at 3), Lead Plaintiff Mohammad

Bozorgi and additional plaintiffs Ken Calderone and Manohar K. Rao (collectively, “Plaintiffs”) moved

to strike Defendants’ Motion in its entirety. See Plaintiffs’ Opposed Motion to Strike Defendants’

Motion to Exclude the Class Certification Testimony of Dr. Steven Feinstein, filed concurrently

herewith. However, if the Court decides to consider Defendants’ belatedly filed Motion, it must be

denied, as there is no valid basis to exclude any of Feinstein’s expert opinions under Federal Rule of

Evidence 702.

         To determine whether Feinstein’s expert opinions should be excluded under Rule 702, the Court

must assess whether the opinions offered are relevant and reliable. Daubert v. Merrell Dow Pharms.,

Inc., 509 U.S. 579, 594-95 (1993). Here, Defendants do not dispute that Feinstein is qualified to offer

opinions on market efficiency and damages. Nor do they dispute the relevance of his opinions.

Defendants’ sole contention here is that certain of Feinstein’s expert opinions are purportedly unreliable.

But in recommending that the Court certify the Class, Magistrate Judge Hightower has already

considered and rejected the exact same reliability challenges Defendants simply repeat here, explaining




1
   “Defendants” refers to Cassava Sciences, Inc. (“Cassava”), Remi Barbier (“Barbier”), Eric
Schoen, and Lindsay Burns.

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that “‘[t]he Court need not exclude expert testimony simply because another expert claims to be able to

poke holes in his opponent’s methods.’” R&R at 27.2

         For example, though Defendants have relentlessly attacked the reliability of Feinstein’s

conclusion that the market for Cassava securities was efficient during the Class Period, Magistrate

Judge Hightower has already considered these criticisms and rejected them. Indeed, the Court disagreed

that “Feinstein’s 454-page Expert Report, 155-page Rebuttal Report, and detailed event studies therein

are cursory” (id.), as Defendants have repeatedly and erroneously claimed. Instead, Magistrate Judge

Hightower recognized that “Courts have found similar event studies by Feinstein reliable to show a

causal relationship between the release of company-specific news and movement in the company’s stock

price,” and concluded that “Feinstein’s events studies are sufficient evidence at this stage . . . to show a

causal relationship between the release of Cassava news and movement in its stock price.” Id. at 27-28.

         Likewise, Magistrate Judge Hightower rejected Defendants’ arguments – which they dredge up

again here – that Feinstein’s proposed out-of-pocket damages methodology is “‘vague, indefinite and

unspecific.’” Id. at 33. Rather, Magistrate Judge Hightower acknowledged that “[m]any courts [have]

recognized out-of-pocket damages models as an accepted way to calculate damages,” and concluded that

“‘[i]t [was] sufficient for class certification that Professor Feinstein has specified a damages model that

can be used to establish damages using a common methodology for all class members, even though

certain of the inputs to that model are not yet ascertainable.’” Id. at 33-34.

         In short, Defendants made these same arguments at class certification, but were dissatisfied with

the outcome. Now, in an attempt to have the last word on Plaintiffs’ motion for class certification, and to

effectively have a second bite at the apple, Defendants raise the exact same arguments again here, hoping

to achieve a better result. Defendants’ gamesmanship should not be tolerated, and their Motion should

be denied.

2
    Unless otherwise noted, all emphasis is added and citations are omitted.
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II.      LEGAL STANDARD

         This Court has “‘wide latitude in determining the admissibility of expert testimony,’” and “the

court’s main focus should be on determining whether the expert’s opinion will assist the trier of fact.”

Puga v. RCX Sols., Inc., 922 F.3d 285, 293 (5th Cir. 2019). When evaluating expert testimony under

Rule 702, “the overarching concern is generally whether the testimony is relevant and reliable.” Id. On a

motion to exclude, the Court’s focus is not on the expert’s conclusions, but on the “principles and

methodology.” Daubert, 509 U.S. at 594-95.

         “As a general rule, questions relating to the bases and sources of an expert’s opinion affect the

weight to be assigned that opinion rather than its admissibility.” Puga, 922 F.3d at 294. This is because

“[a]t no point should the trial court replace the adversary system.” Id. As Magistrate Judge Hightower

explained in her R&R to certify the Class, “‘[t]he Court need not exclude expert testimony simply

because another expert claims to be able to poke holes in his opponent’s methods.’” R&R at 27.

Accordingly, “while the district court must act as a gatekeeper to exclude all irrelevant and unreliable

testimony, the rejection of expert testimony, ‘is the exception rather than the rule.’” Puga, 922 F.3d at

294.

III.     DEFENDANTS DO NOT DISPUTE FEINSTEIN’S QUALIFICATIONS OR
         THE RELEVANCE OF HIS OPINIONS

         Defendants do not dispute that Feinstein is a “witness who is qualified as an expert by

knowledge, skill, experience, training, or education” under Rule 702. Nor could they. Feinstein brings a

wealth of expertise to the subjects addressed in his opening and rebuttal reports. Feinstein holds Ph.D.

and Master’s degrees in Economics from Yale University, and is currently an Associate Professor of

Finance at Babson College. ECF 148-7 (“Feinstein Rpt.”), ¶¶6-7. Feinstein has been a Chartered

Financial Analyst for more than 26 years, and has published extensively in the field of finance. Id., ¶11

& Ex. 2 at 84-89.


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         Likewise, Defendants do not dispute that Feinstein’s “scientific, technical, or other specialized

knowledge will help the trier of fact to understand the evidence or to determine a fact in issue” under

Rule 702(a). This is unsurprising, given that courts throughout the country routinely rely upon

Feinstein’s opinions on market efficiency and common damages methodology at the class certification

stage. See Ex. 1 (chart identifying cases where Feinstein’s market efficiency analysis was admitted); Ex.

2 (chart identifying cases where Feinstein’s out-of-pocket damages methodology was admitted).3

IV.      FEINSTEIN’S MARKET EFFICIENCY OPINION IS RELIABLE

         As Magistrate Judge Hightower noted in her R&R to certify the Class, “[t]he parties have

submitted thousands of pages of briefing and evidence on the issue of class certification.” R&R at 7. In

their voluminous class certification briefing, Defendants vigorously contested the reliability of discrete

portions of Feinstein’s market efficiency opinions. See, e.g., ECF 241 (“Opp.”) at 11 (arguing that

Feinstein’s opinions are “unreliable and cannot support certification”); id. at 2 (arguing that Plaintiffs’

market efficiency arguments are “supported only by a basic, rinse-and-repeat expert report that is

unreliable”); ECF 227 (“Sur-Reply”) at 11 (arguing that Feinstein’s “strained, unreliable concept of

‘efficiency’ has zero basis in financial economics”). In recommending that the Class be certified, the

Court carefully considered the various reliability concerns Defendants raised, but ultimately determined

that: “Dr. Feinstein’s analysis of the Cammer/Krogman factors [were] sufficient to show that Cassava

was traded in an efficient market during the Class Period.” R&R at 23. Disappointed with the Court’s

ruling, Defendants now seek a second bite at the apple through their belated Motion, which simply

rehashes the same unreliability arguments the Court already considered and rejected. Defendants’ blatant

gamesmanship, and disregard for the previous time and efforts put in by Magistrate Judge Hightower,

should not be tolerated, much less, rewarded.

3
    Unless otherwise noted, all “Ex. __” references herein are to the Affidavit of Jessica T. Shinnefield in
Support of Plaintiffs’ Opposition to Defendants’ Motion to Exclude the Class Certification Testimony of
Dr. Steven Feinstein, filed concurrently herewith.
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         Notably, however, Defendants do not challenge the reliability of Feinstein’s Cammer/Krogman

methodology, including his event study methodology, which constitutes the bulk of Feinstein’s analysis

in his opening report. Nor do they assert that his Cammer/Krogman methodology is unsupported by the

data. Indeed, while they frame their Motion as one to exclude Feinstein’s opinions in their entirety, they

do not really challenge the reliability of all, or even most, of his opinions, which span two reports and

hundreds of pages long. For the opinions they do challenge, Defendants’ arguments boil down to

nothing more than disputes regarding Feinstein’s conclusions, which provide no valid basis to exclude

his opinions.

         A.         Feinstein Properly Relied upon the Definition of Market Efficiency Used
                    by Economists and the Supreme Court

         The first of Defendants’ wholly resurrected arguments is their quibble over Feinstein’s definition

of market efficiency, which they claim is “fatally flawed” because it purportedly has “no basis in

financial economics.” Compare Mot. at 5-10, with Sur-Reply at 9-11. Defendants’ assertions are still

meritless. As expressly described in his opening report, Feinstein relied on the definition of market

efficiency used by leading economists and endorsed by the Supreme Court: “An efficient market, as

defined and discussed by Cammer, Basic, Amgen, Halliburton II, Alan Bromberg and Lewis Lowenfels,

Professor Fama, and other leading scholars, is a market in which publicly available information is

incorporated into the price of a security such that the trading price reflects publicly available

information with reasonable promptness.” Feinstein Rpt., ¶¶57-66. Feinstein relied on the same

definition in his rebuttal report. ECF 209-5 (“Feinstein Rebuttal”), ¶16. And Feinstein testified at his

depositions that his opinions were based on the definition of market efficiency contained in his opening

report. See, e.g., Ex. 3 at 20:9-26:14.

         Yet, to attack portions of Feinstein’s market efficiency opinion here, Defendants inexplicably

ignore the definition that Feinstein repeatedly and explicitly stated that he used. Mot. at 6. Instead,

Defendants attack a strawman by cherry-picking a statement from Feinstein’s rebuttal report where he
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responds to Dr. René M. Stulz’s (“Stulz”) argument concerning the so-called “meme stock

phenomenon” (discussed infra at §IV.C.), and disingenuously claim that this isolated statement is

Feinstein’s “definition” of market efficiency. Mot. at 6. In reality, though Defendants now attempt to

make it appear otherwise, their expert actually agrees with Feinstein on the correct definition for market

efficiency. See ECF 242, Ex. 1 (“Stulz Rpt.”), ¶31 (“In a semi-strong form efficient market, security

prices react quickly and fully to new, unexpected, value-relevant public information, so that security

prices reflect all public information fully and quickly.”); id. (“Dr. Feinstein’s definition of efficiency

seems to most closely correspond to the semi-strong form of market efficiency.”). In short, Defendants’

manufactured quibble over Feinstein’s market efficiency definition remains much ado about nothing, and

provides no basis for exclusion of his market efficiency opinion.

         Nor does Defendants’ factually incorrect assertion that Feinstein “could not identify . . . an

inefficient market under his approach” undermine the reliability of his opinions. Mot. at 6. As Feinstein

explained at his deposition, given “how efficient markets are,” it is rare to find a stock that is inefficiently

priced – “so rare that they’re usually labeled as anomalies, and the people that find them are renowned

for it.” Ex. 3 at 58:23-59:11. Feinstein acknowledged that while he has not “published an article about

finding an anomaly of that sort,” contrary to Defendants’ incorrect assertion, he has encountered

examples of “anomalously priced stock.” Id. at 59:9-11, 60:10-15. But, as Feinstein further testified,

unlike here, these anomalous stocks did not satisfy the Cammer/Krogman factors – they were “small

stock, micro cap, no analyst coverage, not listed on an exchange, no volume.” Id. at 61:3-16. In any

event, it is hard to take Defendants’ criticism of Feinstein seriously when their own expert, Stulz, has

never opined that the market for a particular stock was efficient (Ex. 4 at 20:1-21:19), despite the fact that

preeminent economist have concluded “it would be an exception to a generally prevailing rule for a

market for a publicly traded security to be informationally inefficient rather than efficient.” Feinstein

Rpt., ¶66.

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         B.         Feinstein’s Methodology Complies with Basic, and Defendants’ Baseless
                    Attacks on His Market Efficiency Conclusions Fail

         Basic Inc. v. Levinson, 485 U.S. 224 (1988), requires a showing that new, material information

affected a stock’s price during the Class Period. Id. at 246-47; KB Partners I, L.P. v. Barbier, 2013 WL

2443217, at *5 (W.D. Tex. June 4, 2013) (“The relevant legal question is whether the market responds to

publicly available information quickly . . . .”). Based on Supreme Court precedent, courts have

repeatedly emphasized that the Basic test for market efficiency is “not . . . onerous.” In re Petrobras

Sec., 862 F.3d 250, 278 (2d Cir. 2017). Here, Defendants do not assert Feinstein’s Cammer/Krogman

methodology is unreliable or unsupported by the data. Indeed, Feinstein’s Cammer/Krogman analysis

fully complies with Basic, including his event study evidence showing that new, material information

affected Cassava’s stock price during the Class Period. Feinstein Rebuttal, ¶¶61-62, 132, 203-205; see

also In re Groupon, Inc. Sec. Litig., 2015 WL 1043321, at *9 (N.D. Ill. Mar. 5, 2015) (some emphasis in

original) (“Dr. Feinstein’s methodology established that the price of Groupon stock was affected by false

statements, which is all that Basic requires.”).

         Importantly, the Fifth Circuit has acknowledged that event studies such as the one Feinstein

conducted here are a well-established method for establishing market efficiency. See Spence v. Am.

Airlines, Inc., 2024 WL 3092453, at *17 (N.D. Tex. June 20, 2024) (holding that “an event study, is a

widely accepted form of evidence to show the impact of a particular event on a stock price”); In re BP

p.l.c. Sec. Litig., 2013 WL 6388408, at *15 (S.D. Tex. Dec. 6, 2013) (“Event studies are commonly used

in securities fraud class actions.”). And, as Magistrate Judge Hightower recognized in recommending

that the Class be certified in this case, “many district courts have accepted Feinstein’s Cammer/Krogman

analysis to show market efficiency.” R&R at 21; see also Ex. 1. Thus, it is also no surprise that “[c]ourts

have found similar event studies by Feinstein reliable to show a causal relationship between the release

of company-specific news and movement in that company’s stock price.” R&R at 27 (citing cases). As


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such, Defendants’ argument that “Feinstein’s theory rests on an incorrect legal standard,” and is therefore

unreliable, is completely meritless. Mot. at 10-11.

         Because Defendants cannot credibly challenge the reliability of Feinstein’s event study

methodology, they try – yet fail – to attack his conclusions. Id. at 7. But as the Supreme Court

established in Daubert, on a motion to exclude expert opinions “the focus, of course, must be solely on

principles and methodology, not on the conclusions that they generate.” Daubert, 509 U.S. at 594-95.

And under Fifth Circuit law, “[t]he party seeking to have the district court admit expert testimony must

demonstrate that the expert’s findings and conclusions are reliable, but need not show that the expert’s

findings and conclusions are correct.” Bocanegra v. Vicmar Servs., Inc., 320 F.3d 581, 585 (5th Cir.

2003). “As a general rule, questions relating to the bases and sources of an expert’s opinion affect the

weight to be assigned that opinion rather than its admissibility.” Puga, 922 F.3d at 294.

         Nonetheless, here, just as they did in their class certification briefing, Defendants point to isolated

instances of Cassava’s stock price purportedly moving without new, value-relevant information in an

attempt to undermine Feinstein’s market efficiency conclusions. Compare Opp. at 7-8, with Mot. at 7.

But in doing so, they again run headlong into Halliburton II, Basic, and decades of precedent – including

another securities fraud case against defendant Barbier – that reject the same arguments Defendants

make here.

         For example, in Barbier, Pain Therapeutics (before it was renamed Cassava) and Barbier sought

to exclude plaintiffs’ expert’s Cammer factor 5 event study as unreliable under Daubert and Rule 702

because the expert purportedly “did not account for specific days where [Cassava’s] stock price moved

but there was no new information introduced into the market.” 2013 WL 2443217, at *9. That is the

exact argument Cassava and Barbier again make here. The Honorable Sam Sparks, however, rejected it,

noting: “The Court need not exclude expert testimony simply because another expert claims to be able to

poke holes in his opponent’s methods.” Id.

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         Indeed, as courts have aptly noted, “only a third of abnormally large stock price movements are

typically associated with news events.” Petrie v. Elec. Game Card, Inc., 308 F.R.D. 336, 353 (C.D. Cal.

2015); Barbier, 2013 WL 2443217, at *9, *13 (crediting evidence that “there are many days on which

even large stocks traded on efficient markets experience significant changes in price despite an absence

of major news events”). And courts have rejected Stulz’s argument as “ignor[ing] binding Supreme

Court precedent which compels the conclusion that [defendants’] purported meme-stock status is

inapposite to this Court’s market-efficiency analysis.” Shupe v. Rocket Cos., Inc., 2024 WL 4349172, at

*19 (E.D. Mich. Sept. 30, 2024).

         Further, Defendants’ improper attempts to undermine Feinstein’s market efficiency conclusions

fail for other reasons, too. For example, Defendants’ expert, Stulz, attempts to discredit Feinstein’s

market efficiency conclusions by opining that Cassava’s stock price rose on September 18, 2020, despite

this purportedly being a “no-news” days. Stulz Rpt., ¶79 n.157. But Stulz incorrectly assumed there was

no news on these days.4 Indeed, contrary to Stulz’s baseless criticisms, Feinstein found that, after the

close of trading on September 17, 2020, news actually was disseminated that could have caused the stock

price to rise. Feinstein Rebuttal, ¶140. Yet, Defendants insist that Feinstein failed to explain “why such

a price reaction is consistent with market efficiency.” Mot. at 7. This is simply not true. Feinstein

specifically explained in his rebuttal report that, “[a]ccording to finance literature, insider buying is a

positive signal to market participants.” Feinstein Rebuttal, ¶140; see also Ex. 3 at 104:19-21 (“And

when a signal comes out that the insiders are buying, that’s going to send the stock up.”). Feinstein

further explained that in response to this positive signal, Cassava’s stock price rose 42%. Feinstein

Rebuttal, ¶141. Feinstein then explained precisely why these facts provide an example of market

efficiency:

4
    As Feinstein pointed out in his rebuttal report, he did not find that there was no news these days, only
that they did not meet his objective threshold criteria to be considered a “news” day for the purposes of
his event study test. Feinstein Rebuttal, ¶¶130-133.
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                 What happened on 18 September 2020 was an example of Cassava stock trading
         in an efficient market. Important valuation-relevant news broke; the news was
         distributed broadly by well-developed, information-dissemination infrastructure;
         investors traded on the information; and the price rose accordingly. This is not an
         example of Cassava stock moving on no new information.

Id., ¶142. In short, though Defendants may disagree with Feinstein’s conclusion that Cassava’s

September 18, 2020 stock price movement actually supports a finding of market efficiency, this

disagreement between the experts provides absolutely no basis for excluding Feinstein market efficiency

opinions under Rule 702. Daubert, 509 U.S. at 594-95; see Barbier, 2013 WL 2443217, at *9

(“Disagreement does not equal unreliability”); id. at *7 n.7 (“If disagreement alone indicates

unreliability, Daubert ought to have simply required all expert evidence to be excluded in every case, as

each party can always find an expert to disagree with another expert.”).

         C.         Defendants’ Meme Stock Argument Is Legally and Factually Inaccurate,
                    and Does Nothing to Undermine the Reliability of Feinstein’s Opinion

         Defendants also attack the reliability of Feinstein’s market efficiency opinion by claiming that he

ignored “glaring indicators of inefficiency,” including that Cassava was purportedly a “meme stock.”

But it is Defendants who are guilty of ignoring. Magistrate Judge Hightower’s R&R to certify the Class

explicitly determined: (i) “Defendants’ meme stock argument to be legally and factually inaccurate”

(R&R at 21); and (ii) “Defendants’ contention that Feinstein ignored whether Cassava stock was a meme

stock or traded in an inefficient market is inaccurate” (id. at 22). Accordingly, these same “inaccurate”

arguments cannot now be credibly used to undermine the reliability of Feinstein’s opening report.

         First, Magistrate Judge Hightower recognized: “Defendants identify no Fifth Circuit case law

stating that courts should not apply the Cammer/Krogman factors in securities fraud cases when the

defendant argues that the stock was a meme stock or that the market was inefficient.” Id. at 21. The

Court further noted that “courts have specifically rejected this argument.” Id. (citing Shupe, 2024 WL

4349171, at *20, Willis v. Big Lots, Inc., 2017 WL 1074048, at *3-*4 (S.D. Ohio Mar. 17, 2017);

Carpenters Pension Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 82 (S.D.N.Y. 2015)). Thus, the
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reliability of Feinstein’s market efficiency analysis cannot be questioned on this basis. Further, the

Court’s R&R actually bolstered the reliability of Feinstein’s analysis by acknowledging that “many

district courts have accepted Feinstein’s Cammer/Krogman analysis to show market efficiency.” Id.

         Second, Magistrate Judge Hightower found it significant that, “while Stulz point[ed] out that

some market participants characterized Cassava as a meme stock, he never state[d] that Cassava stock

indeed was one.” Id. at 22. The Court elaborated that Defendants’ criticisms of Feinstein’s analysis was

not persuasive because Stulz did not offer “‘an affirmative opinion that the market for Cassava stock was

inefficient during the class period,’” and “[h]e also admitted that he has no evidence Cassava was a

meme stock.” Id.; see also Ex. 4 at 38:18-23; id. at 174:14-16 (“I don’t have a report saying that Cassava

is a meme stock.”). Given the Court’s prior ruling and Stulz’s admissions, Feinstein’s market efficiency

analysis can hardly be deemed unreliable for failing to exclude the possibility that Cassava was a meme

stock when Defendants’ own expert offered no evidence that it was.

         Third, as the Court recognized, Feinstein did not, in fact, ignore whether “Cassava stock was a

meme stock or traded in an inefficient market.” R&R at 22. Rather, “[i]n both of his expert reports,

Feinstein addresse[d] the meme stock argument but conclude[d] that Cassava was traded in an efficient

market.” Id.; Feinstein Rebuttal, ¶¶59-126. Again, because Defendants’ complaints are about

Feinstein’s conclusions rather than the reliability of his methodology, there are no grounds for exclusion

under Rule 702.

         D.         Defendants’ Other Criticisms of Feinstein’s Market Efficiency Opinion
                    Are Also Meritless

         Defendants’ other scattershot criticisms of Feinstein’s market efficiency analysis were also

already raised in their class certification briefing and rejected, and do nothing to call into question the

reliability of Feinstein’s market efficiency opinion. See Mot. at 14-15. And, as with Defendants’ other

attacks, they are devoid of factual basis and improperly dispute Feinstein’s conclusions rather than the

reliability of his methodologies.
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         First, Defendants argue, as they did unsuccessfully in their class certification briefing, that

“Cassava’s stock demonstrated enormous volatility during the class period, untethered to any information

in the market,” which Defendants claim calls into question the reliability of Feinstein’s conclusion that

Cassava stock traded in an efficient market. Compare id. at 13-14, with Sur-Reply at 4-6. Defendants

further claim that Feinstein ignored this volatility in his market efficiency analysis. Compare id. at 13-

14, with Sur-Reply at 4-6. Neither assertion is correct. In reality, Feinstein explained the bases for his

conclusions that Cassava’s stock did not trade irrationally and that its volatility during the Class Period

was not surprising. Feinstein Rebuttal, ¶¶90-93. Defendants simply disagree with those well-reasoned

conclusions.

         Indeed, during the Class Period, Defendants represented to investors that: (i) Cassava’s research

was unprecedented; and (ii) it continued to meet key development milestones. Id. Feinstein explained

that, as a result, analysts believed that the drug could be a potential blockbuster worth billions. Id., ¶¶90,

107, 144. Likewise, throughout the Class Period, there was great uncertainty about Cassava both

because the drug had not yet been approved and later because there were allegations of wrongdoing. See

id., ¶¶36-38, 90-93. Given this “controversy and uncertainty, the range of reasonable valuations for

Cassava stock was extraordinarily wide.” Id., ¶93. Thus, Feinstein concluded that it was “neither

surprising nor inconsistent with market efficiency for these factors to generate stock price volatility.” Id.

In fact, as Feinstein explained, “[t]his volatility is a result of market efficiency, not an indication of

inefficiency.” See id. Though Defendants disagree with Feinstein’s conclusion, he has demonstrated a

reasonable basis for his analysis, which is all that is required for it to be admissible under Rule 702.

         Second, Defendants take issue with Feinstein’s conclusion that Cassava’s stock price traded

“within ‘rational bounds.’” Mot. at 14. But Feinstein has a reliable basis for this conclusion, which he

explains in his rebuttal report. Feinstein Rebuttal, ¶¶120-121. As Feinstein described:



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         At times Cassava’s stock price was elevated to reflect the positive prospects that
         Simufilam, the Company’s drug under development, would prove efficacious, receive
         FDA approval, and become commercially successful. At other times the stock price fell
         to low levels, reflecting criticism of the Company’s research and alleged wrongdoing,
         and the prospect that the drug would not prove efficacious, and would consequently fail
         to receive FDA approval. The range between these two possibilities is dramatic, and
         therefore so was the range of rational valuation.

Id., ¶120. Feinstein explained that “[o]ver the course of the Class Period, equity analysts covering

Cassava set price targets that ranged between $8 per share and $215 per share.” Id., ¶121. Cassava’s

highest stock price during the Class Period was $135 per share; its lowest was $6.79. Id. Based on this

data, Feinstein concluded that Cassava’s stock price movements were never “wild or irrational,” as Stulz

erroneously claimed. Id. On the contrary, never during the Class Period did Cassava stock trade at a

price above what equity analysts computed the fair price to be, and at its lowest price during the Class

Period, Cassava stock traded near analysts’ lowest price target. Id. Thus, Feinstein has demonstrated a

reliable basis for his conclusion that Cassava stock traded within rational bounds during the Class Period,

and exclusion of his opinion is unwarranted.

         E.         Feinstein’s Price Impact Opinions Regarding Statistical Significance Are
                    Well Supported

         Defendants dispute the reliability of Feinstein’s opinions that the fact that a disclosure does not

result in a statistically significant price movement at the 95% level is not evidence by itself of a lack of

price impact. Mot. at 15-16. But Magistrate Judge Hightower rejected this same argument in her

recommendation to certify the Class. R&R at 31. In doing so, the Court relied upon the Honorable Sam

Sparks opinion in Rooney v. EZCORP, Inc., 330 F.R.D. 439 (W.D. Tex. 2019), which held that: “the

absence of a statistically significant price adjustment does not show the stock price was unaffected by the

misrepresentation. Nor does it indicate that what price adjustment did occur must be attributed to

‘random chance.’” Id. at 450. Courts routinely find the same. See, e.g., Bos. Ret. Sys. v. Alexion

Pharms., Inc., 2023 WL 2932485, at *12 (D. Conn. 2023) (“lack of statistical significance does not prove

an absence of price impact because ‘the failure of an event study to disprove the null hypothesis with
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respect to an event does not prove that the event had no impact on the stock price’”). Thus, Feinstein’s

opinion is well supported, not unreliable.

         As Feinstein explained, “statistically significant stock price decline following a disclosure

provides proof that the disclosure caused a loss, but non-significance of the stock price decline does not

prove that the disclosure caused no loss.” Feinstein Rebuttal, ¶321. Accordingly, “[i]f a price movement

is not statistically significant, one cannot rule out random volatility, but neither can one rule out that

company information (a misrepresentation, omission, or a corrective disclosure) was the cause of the

price movement or at least a contributing factor.” Id., ¶322.

         Moreover, as Magistrate Judge Hightower astutely recognized: “The questions of what causes the

stock price to decline following corrective disclosures and increase due to misrepresentations ‘are

ultimately questions for the trier of fact on the merits.’” R&R at 31 (quoting Monroe Cnty. Emps.’ Ret.

Sys. v. S. Co., 332 F.R.D. 370, 393 (N.D. Ga. 2019)). The Court further explained: “‘The Court need not

exclude expert testimony simply because another expert claims to be able to poke holes in his opponent’s

methods.’ That experts disagree on how to conduct studies or what factors to consider does not show

that Feinstein’s event studies are unreliable.” Id. at 27-28. Defendants’ attempts to re-litigate this exact

same issue, simply because the Court did not side with them, is not an efficient use of the Court and

Plaintiffs’ counsel’s time, and should be rejected (again). This is especially true because Defendants do

not dispute that all six alleged corrective disclosures were followed by statistically significant stock

drops. Sur-Reply at 7-9.

V.       FEINSTEIN’S OUT-OF-POCKET METHODOLOGY FOR CALCULATING
         DAMAGES IS RELIABLE

         A.         Feinstein’s Out-of-Pocket Methodology Complies with Comcast and Has
                    Been Widely-Accepted by Courts

         Defendants’ attacks on Feinstein’s out-of-pocket methodology for calculating damages are

simply a repeat of the arguments they made in opposing Plaintiffs’ motion for class certification.

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Compare Mot. at 16-204, with Sur-Reply at 17-20. They fare no better with repetition, and provide no

basis for exclusion under Rule 702.

         As Magistrate Judge Hightower stated in recommending certification of the Class:

                  Many courts recognize out-of-pocket damages models as an accepted way to
         calculate damages on a classwide basis in securities fraud class actions. See Weiner v.
         Tivity Health, Inc., 334 F.R.D. 123, 137 (M.D. Tenn. 2020) (“Use of the out-of-pocket
         damages model . . . is the standard measurement of damages in Section 10(b) securities
         cases’”); Rougier, 2019 WL 6111303, at *15 (“Plaintiffs have demonstrated an accepted
         method for calculating Class Members’ out-of-pocket damages that are consistent with a
         fraud on the market theory of liability”); Rooney, 330 F.R.D. 439 at 451 (finding that
         plaintiffs established that calculation of damages based on an out-of-pocket model could
         be measured on a classwide basis).

R&R at 33; see also Ex. 2.5

         In spite of the out-of-pocket damages methodology’s wide acceptance in courts throughout the

country, Defendants continue to speculate that it cannot be reliably applied here. Defendants recycle

their class certification argument that “Feinstein’s . . . damages opinion is vague, indefinite, and

unverifiable,” and complain that Feinstein fails to explain how he will calculate the damages and account

for various factors, such as that Cassava was a meme stock. Compare Mot. at 17-18, with Sur-Reply at

17-19. However, after considering these same arguments, Magistrate Judge Hightower rejected them,

holding that Feinstein’s proposed out-of-pocket damages methodology is “consistent with [Plaintiffs’]

theory of liability and capable of calculating damages on a classwide basis.” R&R at 34. In so holding,

the Court determined that the “level of specificity” demanded by Defendants “is not required at the class

certification stage,” and “‘[i]t is sufficient for class certification that Professor Feinstein has specified a




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    See also City of Cape Coral Mun. Firefighters’ Ret. Plan v. Emergent Biosolutions, Inc., HQ, 322 F.
Supp. 3d 676, 693 (D. Md. 2018) (“The Court similarly finds that Lead Plaintiffs’ proposal of an event
study to measure out-of-pocket per share damages meets their burden to show that damages can be
calculated on a classwide basis.”); In re Barrick Gold Sec. Litig., 314 F.R.D. 91, 105-06 (S.D.N.Y. 2016)
(“[A]s required by Comcast, plaintiffs’ actual theory of damages (out-of-pocket damages) is entirely
consistent with their theory of Section 10(b) liability and would be measurable on a class-wide basis.”).
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damages model that can be used to establish damages using a common methodology for all class

members, even though certain of the inputs to that model are not yet ascertainable.’” Id.

         Magistrate Judge Hightower’s findings are in accord with the Supreme Court’s seminal ruling in

Comcast Corp. v. Behrend, 569 U.S. 27 (2013), which holds that to satisfy Federal Rule of Civil

Procedure 23’s predominance requirement, plaintiffs need only present a model demonstrating that

damages can be calculated on a classwide basis consistent with their theory of liability. Id. at 34-35; see

also Rougier v. Applied Optoelectronics, Inc., 2019 WL 6111303, at *15 (S.D. Tex. Nov. 13, 2019)

(noting that Comcast requires only that “the method for calculating class damages be consistent with the

theory of liability asserted in the case,” a requirement “easily satisfied” where, as here, Plaintiffs rely on

the “out-of-pocket” method), report and recommendation adopted, 2019 WL 7020349 (S.D. Tex. Dec.

20, 2019).6

         Here, Defendants do not claim that Plaintiffs’ theory of liability is inconsistent with its proffered

damages model or that the out-of-pocket methodology is unreliable, and Feinstein’s methodology has

satisfied Comcast in dozens of securities cases. See ECF 214 (“Reply”) at 27. Nothing more is required.

         B.         Feinstein’s Proposed Methodology for Calculating Damages Is
                    Sufficiently Detailed

         Far from being “vague and indefinite,” as Defendants baselessly assert, Feinstein’s reports

specifically detail how he would apply the out-of-pocket methodology in this case, as well as identify the

particular valuation tools he would use in his analysis:

                   First, Feinstein will use “valuation tools, which would include [an] event study analysis,”
                    to measure the artificial inflation in the security due to the alleged misrepresentations and
                    omissions, as well as the corresponding dissipation caused by corrective disclosures to
                    establish if the alleged corrective disclosures caused Cassava’s security to fall. Feinstein
                    Rpt., ¶230(i). “This analysis would apply on a Class-wide basis.” Id.


6
   Just as they did when opposing class certification, Defendants rely on BP to argue that Feinstein’s
damages methodology fails to comply with Comcast. 2013 WL 6388408, at *16. But that case is
completely inapposite, because, unlike here, plaintiffs alleged four theories of liability in BP.
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                   Second, Feinstein will construct an “inflation ribbon” (i.e., “a time series of the
                    difference between a security’s actual price observed in the marketplace, and the
                    estimated price that the security would have traded at each day had there been full
                    disclosure” from the outset of the Class Period) to determine the extent artificial inflation
                    in the security’s price on each day of the Class Period. Id., ¶230(ii).

                   Third, Feinstein will calculate per share damages for each Class member by determining
                    “the difference between the inflation on the date the securities were purchased and the
                    inflation on the date those same securities were subsequently sold.” Id., ¶230(v).
                    Feinstein will also limit per share damages to be no greater than the decline in share
                    price over the holding period. Id., ¶230(vi).

         Defendants’ expert, Stulz, does not dispute that the out-of-pocket damages methodology is

widely used to compute damages in virtually all class action securities fraud cases, and that it is approved

in published legal scholarship. Feinstein Rebuttal, ¶262. And Stulz even acknowledges that Feinstein’s

description of the methodology addresses how it can accommodate and overcome potential complexities

of precisely the sort he suggests may theoretically be encountered in this case. Id. Rather, Defendants’

and Stulz’s criticism is that Feinstein’s description of the out-of-pocket damages methodology must be

more detailed as to how the valuation analysis could address potential damages issues associated with

different categories of allegations, potentially confounding information, the stock price in the but-for

scenario, and time-varying inflation, that may or may not arise. See, e.g., ECF 231 at 9-10; Reply at 28.

However, as Feinstein explains in his rebuttal report, their argument is fatally flawed because:

         Dr. Stulz does not identify a single factor that cannot be addressed using one or more of
         the generally accepted valuation tools, which include those referenced in the Feinstein
         Report. As stated in the Feinstein Report (and summarized again below), such valuation
         tools are commonly employed to construct an inflation ribbon in the course of
         implementing the out-of-pocket damage methodology. Indeed, Dr. Stulz’s criticism
         disregards that market participants routinely arrive at valuations for virtually any type of
         publicly traded security in real time using the same valuation tools that are readily
         applicable to estimate but-for prices in a securities class action such as this.

Feinstein Rebuttal, ¶263. Importantly, Stulz “does not dispute that these valuation tools exist, and that

these tools can supplement the event study, if necessary, to construct an artificial inflation ribbon in this

case.” Id., ¶269.


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         Moreover, “‘[a]t this stage of litigation, Plaintiffs are not required to produce a detailed damages

model.’” In re EQT Corp. Sec. Litig., 2022 WL 3293518, at *27-*28 (W.D. Pa. Aug. 11, 2022); Junge v.

Geron Corp., 2022 WL 1002446, at *6 (N.D. Cal. Apr. 2, 2022) (rejecting Stulz’s objections to

plaintiffs’ damages approach because they “boil[ed] down to loss causation” issues, “which plaintiffs

need not show at this stage”). Instead, Plaintiffs “propos[ing] a method of calculating damages on a

class-wide basis” and “summariz[ing], albeit in general terms, the steps” for calculating out-of-pocket

losses is sufficient at this stage. Utesch v. Lannett Co., Inc., 2021 WL 3560949, at *16 n.13 (E.D. Pa.

Aug. 12, 2021), aff’d sub nom. Univ. of P.R. Ret. Sys. v. Lannett Co., Inc., 2023 WL 2985120 (3d Cir.

Apr. 18, 2023); see Monroe, 332 F.R.D. at 399 (finding Feinstein’s proposed methodology complied

with Comcast even though expert “ha[d] not yet specified which valuation tools . . . he [would]

ultimately use”); Wilson v. LSB Indus., Inc., 2018 WL 3913115, at *17 (S.D.N.Y. Aug. 13, 2018)

(rejecting argument that Feinstein was required to specify “‘valuation tools’” because “such specificity is

not required at this stage”).7

         Also significant is that Stulz “does not dispute that the out-of-pocket damage methodology is

appropriate in the instant case,” and even “implicitly accepts that this damage methodology . . . can be

implemented correctly to compute damages commonly for all Class members.” Feinstein Rebuttal,

¶274. In short, Stulz’s “criticism amounts to misdirected, erroneous, and unsupported speculation that

this generally accepted and appropriate methodology might not be executed correctly if the but-for

security prices and artificial inflation are valued incorrectly.” Id. Because Stulz’s and Defendants’ true


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    Defendants’ contention that Feinstein has not yet disaggregated losses from potential non-fraud
related “volatility” and unspecified “other forces” on corrective disclosure dates (Mot. at 18) is
speculative and premature merits questions left to summary judgment or trial. See Reply at 30;
Dougherty v. Esperion Therapeutics, Inc., 2020 WL 6793326, at *7 (E.D. Mich. Nov. 19, 2020)
(disaggregation “is really a merits inquiry into loss causation” that “is not required for class
certification”); Plymouth Cnty. Ret. Sys. v. Patterson Cos., Inc., 2020 WL 5757695, at *14 (D. Minn.
Sept. 28, 2020) (“[C]oncerns that [plaintiff] has not yet . . . adequately addressed disaggregation” is a
“loss causation dispute[] . . . not appropriate for resolution at class certification.”).
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quarrel is with the conclusions regarding damages that Feinstein might ultimately reach at trial – and not

with the reliability of the damages model he has proposed for class certification – Feinstein’s opinions

are admissible under Rule 702. R&R 254 (“That experts disagree on how to conduct studies and what

factors to consider does not show that Feinstein’s [methods] are unreliable” and require exclusion.).

         None of the cases that Defendants dredge up here again say otherwise. For example, courts have

declined to follow Defendants’ Freddie Mac case, noting that “although [the expert] has not yet specified

. . . valuation tools – an input into the damages model – he will ultimately use, such specification is not

required at this stage.” Monroe, 332 F.R.D. at 399. Further, Freddie Mac “involved testimony from

defendants’ expert affirmatively supporting that a class-wide damages model could not be constructed –

which is not at issue in the present case” (City of Sunrise Firefighters’ Pension Fund v. Oracle Corp.,

2022 WL 1459567, at *10 (N.D. Cal. May 9, 2022) (emphasis in original); Ex. 4 at 311:3-9 (testifying he

is not opining that an event study cannot measure damages in this case)), as well as incongruent theories

of liability and damages. See Pub. Emps.’ Ret. Sys. of Miss. v. TreeHouse Foods, Inc., 2020 WL 919249,

at *9 n.8 (N.D. Ill. Feb. 26, 2020).

         And Defendants’ continued reliance on Sicav v. James Jun Wang, 2015 WL 268855, at *6

(S.D.N.Y. Jan. 21, 2015), and In re Vale S.A. Sec. Litig., 2022 WL 122593, at *6 (E.D.N.Y. Jan. 11,

2022), report and recommendation adopted, 2022 WL 969724 (E.D.N.Y. Mar. 31, 2002), remains

misplaced. Unlike here, Sicav was not a “typical securities fraud class action,” and alleged “an unusual

theory of classwide injury” based on trading mechanics, not a stock price drop. 2015 WL 268855, at *2.

And Defendants are simply wrong that the court in Vale “rejected Dr. Feinstein’s damages opinion.”

Mot. at 17; Vale, 2022 WL 122593, at *18-*19, *22. Quite the opposite is true actually – the court

upheld Dr. Feinstein’s damages model and granted class certification. Moreover, the basis of the court’s

criticism in Vale was Dr. Feinstein’s use of a different event study than the typical “‘collective event

study’” used here, which, unlike here, relied on a “‘subjective’” and unspecified event date selection

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process. Vale, 2022 WL 122593, at *10-*13. Defendants do not claim his event selection criteria here

was subjective.

          Because Feinstein’s proposed out-of-pocket methodology for calculating damages is widely-

accepted by courts and is sufficiently detailed, it is therefore reliable, and should not be excluded.

VI.       CONCLUSION

          For all the reasons stated herein, Plaintiffs respectfully request that Defendants’ Motion be

denied.

DATED: December 11, 2024                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that on December 11, 2024, a true and correct copy of the

foregoing was served electronically upon each attorney of record.


                                                         /s/ Jessica T. Shinnefield
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